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                         UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MICHIGAN


                                      MINUTES
Case No: 1:21-cv-01032-JMB-RSK

Caption: Barrone v. Grand Rapids, City of et al

Date:                Time:                          Place:               Magistrate Judge:
June 8, 2022         1:36 - 2:15 p.m.               Grand Rapids         Hon. Ray Kent

                                        APPEARANCES

 PARTY TYPE:            COUNSEL:                              REPRESENTING:

PLAINTIFF:      Jonathan A. Abent            Billie Barrone
DEFENDANTS:     Elizabeth J. Fossel          City of Grand Rapids
                Tobijah B. Koenig            Mark Konynenbelt


                                        PROCEEDINGS


NATURE OF HEARING:

EARLY SETTLEMENT CONFERENCE held.

The parties did not reach a settlement of the case.




Event                                                 Time                    Digitally
                                                                              recorded

Opening comments / remarks                            1:36 - 1:38 p.m.        Yes
Settlement discussions between Judge and parties      1:38 - 2:15 p.m.        No



                           Proceedings Not Digitally Recorded

                                Deputy Clerk: S. Carpenter
